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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:15CR137
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )             TENTATIVE FINDINGS
                                               )
OSCAR CEBREROS-TIRADO,                         )
                                               )
              Defendant.                       )

       The Court has received the Presentence Investigation Report and Addendum

(“PSR”) in this case and the Defendant objections (Filing No. 55). The government did not

object to the PSR. The Defendant also has filed a motion for downward departure or

variance and supporting brief (Filing Nos. 56 and 57). See Order on Sentencing Schedule,

¶ 6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       IT IS ORDERED:

       1. The Defendant’s Objections to Presentence Investigation Report (Filing No. 55)

will be addressed at the sentencing hearing;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
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hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final;

      5.     The Defendant’s Motion for Downward Variance (Filing No. 56) will be heard

at sentencing; and

      6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 3rd day of November, 2015.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




                                               2
